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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Inre: Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon” in the Gulf of Mexico, on

April 20, 2010
SECTION: J
JUDGE BARBIER
MAGISTRATE JUDGE SHUSHAN

DECLARATION OF RHON E. JONES

I, Rhon E. Jones, respectfully declare, under penalty of perjury, that the following is true
and correct to the best of my knowledge, information and belief:
1. [have previously submitted a Declaration dated November 5, 2013, which is respectfully
incorporated by reference herein.
R Hal Sidex Declarati
2. In Mr. Sider’s declaration filed November 7, 2013 [Doc. 11818-3], he states, “In
addition, the PSC did not provide full claimant files and did not identify the industry of a
number of claimants ...” In fact, as evidenced by the attached e-mails (attached hereto as
Exhibit “A”), John Tomlinson and I did provide Wendy Bloom with industry

designations for approximately seventy-five of the eighty or so test cases.

Signed, under penalty of perjury, this \2*Daay of Ne pide 2013 in Montgomery,

Alabama.

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Rhon E. Jones \)

